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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    Southern District of __________
                                                 __________              Texas

                  United States of America                        )
                             v.                                   )
                     Jose YEPEZ-Vega
                                                                  )      Case No.
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    July 21, 2018              in the county of                Webb          in the
     Southern          District of            Texas           , the defendant(s) violated:

            Code Section                                                    Offense Description
8 USC 1324 (a)(1)(A)(iii) and (v)(I)           Did knowingly conspire with other persons known and unknown to transport
                                               and move and attempt to transport and move within the United States by
                                               means of transportation and otherwise, an alien who had come to, entered,
                                               remained in the United States in violation of law in furtherance of such
                                               violation. The Defendant did also transport and move said alien for the
                                               purpose of commercial advantage and private financial gain.



         This criminal complaint is based on these facts:
See attachment "A"




         ✔ Continued on the attached sheet.
         u

                                                                                              /s/ Matthew Morris
                                                                                             Complainant’s signature

                                                                                    Matthew Morris HSI Special Agent
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:             07/23/2018
                                                                                             Judge’s signature

City and state:                          Laredo, Texas                         John A. Kazen U.S. Magistrate Judge
                                                                                              Printed name and title
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                                     Attachment "A"


On July 21, 2018, Homeland Security Investigations (HSI) Special Agents (SAs) received a request for
investigative assistance from the United States Border Patrol (USBP) at approximately 6:30 P.M. in
reference to a human smuggling event. USBP advised HSI SA’s Jose YEPEZ‐Vega was driving a vehicle
with three undocumented aliens (UDAs) and attempted to evade law enforcement.

HSI SAs responded to the USBP checkpoint located at mile marker 29 on north bound Interstate 35 and
interviewed Border Patrol Agent (BPA) Alexis Gutierrez.

BPA Alexis Gutierrez stated that at approximately 2:55 P.M. he observed a vehicle exit Interstate 35 at
mile marker 27 and proceed north on the west access road which circumvents the USBP checkpoint at
mile marker 29. BPA Gutierrez stated he observed three subjects in the vehicle at that time. The vehicle
was described as a blue 2012 Mazda Six with Texas license plate. BPA Gutierrez stated he observed the
vehicle change lanes into the southbound lane while travelling north, at which time BPA Gutierrez
activated his emergency lights to stop the vehicle. BPA Gutierrez stated the vehicle failed to yield and
continued at 50 miles per hour. BPA Gutierrez stated YEPEZ‐Vega accelerated to a high rate of speed
after mile marker 32 at which point BPA Brian Jennings took over the pursuit. BPA Gutierrez stated BPA
Jennings continued pursuit of YEPEZ‐Vega to approximately mile marker 56 when he lost sight of YEPEZ‐
Vega. BPA Gutierrez stated the Encinal Police Department, La Salle County Sheriff’s Department, and
the Department of Public Safety reacquired YEPEZ‐Vega on north bound Interstate 35 and continued to
pursue until YEPEZ‐Vega lost control of the vehicle at approximately mile marker 78. BPA Gutierrez
stated Encinal Police apprehended YEPEZ‐Vega and the passengers of the vehicle.

HSI SA’s advised Jose YEPEZ‐Vega of his Miranda rights at approximately 8:20 P.M., and YEPEZ‐Vega
declined to speak to HSI SA’s about the event.

Bonofilio CUANENEMI‐Cuanenemi, Abdille MEJIA‐Moralez, and Rosario PAITA‐Vitales admitted to
illegally entering the United States by crossing the Rio Grande River to then be smuggled to various
cities within the United States for various amounts of money. CUANENEMI‐Cuanenemi, MEJIA‐Moralez,
and PAITA‐Vitales will be held as material witnesses in this case.

Bonfilio CUANENEMI‐Cuanenemi stated he is a Mexican national from Cholula, Puebla Mexico.
CUANENEMI‐Cuanenemi stated that his family in Mexico made arrangements for him to be smuggled to
Wisconsin. CUANENEMI‐Cuanenemi stated he does not know how much the smuggling fee was, but
that approximately $4000 United States Dollars (USD) had already been paid by his family. CUANENEMI‐
Cuanenemi stated he was sitting in the front passenger seat of the vehicle when apprehended and that
he felt his life was in danger during the pursuit. CUANENEMI‐Cuanenemi positively identified YEPEZ‐
Vega on a six pack photo array as the driver of the vehicle he was in during the smuggling event.

Rosario PAITA‐Vitales stated he is a Mexican national from San Luis Potosi, Mexico. PAITA‐Vitales stated
he made arrangements to be smuggled to Dallas Texas through an unknown subject in Nuevo Laredo,
Mexico for $6,000 USD. PAITA‐Vitales stated he was seated in the back seat behind YEPEZ‐Vega during
the smuggling event. PAITA‐Vitales stated he asked YEPEZ‐Vega to stop three or four times during the
pursuit, and that YEPEZ‐Vega accelerated after being asked to stop at one point. PAITA‐Vitales stated he
looked at the speedometer of the vehicle at one point during the pursuit and the vehicles indicated
speed was between 120 miles per hour to 130 miles per hour. PAITA‐Vitales stated he felt his life was in
danger during the pursuit. PAITA‐Vitales positively identified YEPEZ‐Vega on a six pack photo array as
the driver of the vehicle he was in during the smuggling event.
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Abdille MEJIA‐Moralez stated he is a Mexican national from Chiapas, Mexico. MEJIA‐Moralez stated his
father made arrangements for him to be smuggled to Pennsylvania and that the smuggling fee was
$6,000 USD. MEJIA‐Moralez stated that he was seated in the back passenger seat during the smuggling
event. MEJIA‐Moralez stated he felt his life was in danger during the pursuit. MEJIA‐Moralez stated that
YEPEZ‐Vega said he was going to lose them in reference to law enforcement at the beginning of the
pursuit. MEJIA‐Moralez positively identified YEPEZ‐Vega on a six pack photo array as the driver of the
vehicle he was in during the smuggling event.
